         Case 2:10-cr-00123-PBT Document 93 Filed 10/04/13 Page 1 of 1



                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA                       :           Date of
                                               :           Notice: May 8, 2013
              v.                               :
                                               :
COLLEEN LAROSE                                 :           Criminal No. 10-123-1
61657-066
FDC Philadelphia
7th and Arch Streets
Philadelphia, PA 19106                         :

              TAKE NOTICE that the above-entitled case has been set for Sentencing in the
United States District Court, United States Courthouse, 601 Market Street, Philadelphia,
Pennsylvania, on **October 8, 2013 at 10:00 a.m. before the Honorable Petrese B. Tucker,
Chief Judge in Courtroom 9B.

          ALL DEFENDANTS ARE DIRECTED TO REPORT TO THE COURTROOM
ON THE DATE AND TIME STATED ABOVE. IF A DEFENDANT FAILS TO APPEAR AS
DIRECTED, THE BAIL MAY BE FORFEITED AND A BENCH WARRANT ISSUED.

           COUNSEL SHALL FILE ANY SENTENCING MEMORANDUM OR PLEA
MEMORANDUM THREE (3) DAYS PRIOR TO THE SCHEDULED PROCEEDING. COUNSEL
SHALL FAX A COPY TO JUDGE TUCKER’S CHAMBERS AT 267-299-5072.

              If a defendant is presently in jail, the defendant or his counsel shall notify the
undersigned in writing immediately so that the necessary procedures can be taken to have the
defendant present in the courtroom.

                                                Very truly yours,


no INTERPRETER REQUIRED
                                              Michael Owens
                                           Courtroom Deputy to Chief Judge Petrese B. Tucker
                                              (267) 299-7619
                                              (267) 299-7618 - fax
                                              (267) 299-7610 - Chambers
                                              Michael_Owens@paed.uscourts.gov

Notice to:
Defendant
Mark Wilson, Esq.
Jennifer Williams, AUSA (via email)                **RESCHEDULED FROM 5-7-13.
U.S. Marshal (via fax, email)
Probation Office (via email)
Pretrial Services (via email)
Larry Bowman (via email)
Cr 4 (rev. 8/97)
